                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE

  UNITED STATES OF AMERICA                        )
                                                  )
        Plaintiff,                                )
                                                  )
  v.                                              )      No. 2:19-CR-00014-JRG-CRW
                                                  )
  XIAORONG YOU                                    )
       aka SHANNON YOU                            )
                                                  )
        Defendant.                                )

                                          ORDER

        This matter is before the Court on the United States’ Unopposed Motion to Seal Highly

  Confidential Trial Exhibits Nunc Pro Tunc [Doc. 429]. The motion is GRANTED.

        So ordered.

        ENTER:


                                                  s/J. RONNIE GREER
                                             UNITED STATES DISTRICT JUDGE




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